CaSe 2208-CV-14792-RHC-|\/|K|\/| ECF NO. 72 filed 11/26/18 Page|D.?l? Page 1 Of 2

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

TDC INTERNATIONAL CORP.
f/k/a G.E. THOl\/[PSON DEVELOPl\/[ENT CORP,

Plaintiff, Case No. 08-cV-14792
Hon. Robert H. Cleland

V.

JAE L. BURNHAM, d/b/a QUICK AND
EASY MOVING, and QUICK AND EASY
MOVING, LLC .

Defendants.

BRIAN C. GRANT (P71066)
NATI-IAN D. PETRUSAK (P75395)
O’Reilly Rancilio, PC
Attorney for Plaintiff
12900 Hall Road, Ste. 350
Sterling Heights, MI 48313
(586) 726-1000
bgrant@orlaw.com
/

AFFIDAVIT QF BRIAN GRANT

STATE OF MICHIGAN )
) ss:

COUNTY OF MACOl\/[B )
Brian C. Grant, being duly sworn, states as follows:

1. I am one of the attorneys in charge of the entitled case.

2. That Affiant is over 18 years old and competent to make this affidavit

CaSe 2208-CV-14792-RHC-|\/|K|\/| ECF NO. 72 filed 11/26/18 Page|D.?lS Page 2 Of 2

2. 1 make this Affidavit from personal kl‘lowledgel

3. Plaintiff has not received any money from Jae Burnham to date.

Further, Affiant sayeth not.

 

 

Brian

Subscribed and sworn to before me this
26th day of November, 2018

 

" eresa A. Imbrunone, Notary Public
Macomb County, Michigan.
My Commission Expires: October 31, 2021

